Case 2:04-cv-02735-WY Document 2 Filed 07/15/04 Page 1 of 27

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IKON OFFICE SOLUTION, INC.,,

Plaintiff, CIVIL ACTION NO.: 04-CV-2735
v. Honorable William Yohao

DAVID RUPERT, Jury Trial Demanded
Defendant/

Counterclaim Plaintiff,

v.
IKON OFFICE SOLUTIONS, INC,,
MATTHEW J. ESPE, and BETH
SEXTON,

Counterclaim Defendants.

ANSWER AND COUNTERCLAIMS
OF DAVID RUPERT

Defendant and Counterclaim Plaintiff David Rupert (“Mr. Rupert”), by his undersigned
attorneys, Buchanan Ingersoll PC, hereby responds to the numbered paragraphs of the Complaint
of IKON Office Solutions, Inc. (“IKON”) in this action as follows:

FIRST DEFENSE

The preamble to the Complaint does not contain any factual averments and therefore Mr.
Rupert is not required to respond. If and to the extent a response is deemed to be required, Mr.
Rupert denies that he violated his Executive Employment Agreement, the Relocation Payment
and Expense Reimbursement Agreement (“Relocation Agreement”), and/or Pennsylvania

common law. Further responding, Mr. Rupert admits that fom November 3, 2003 through April
Case 2:04-cv-02735-WY Document 2 Filed 07/15/04 Page 2 of 27

30, 2004 he worked as Vice President, Management Services for IKON and that IKON

considered this a “key, executive” position,

1. Mr. Rupert admits the averments contained in paragraph 1 of the Complaint.
2. Mr. Rupert admits the averments contained in paragraph 2 of the Complaint.
3, Mr. Rupert admits the averments contained in paragraph 3 of the Complaint.
4, Mr. Rupert admits the averments contained in paragraph 4 of the Complaint.
5. Mr. Rupert admits the averments contained in paragraph 5 of the Complaint.
6. Mr. Rupert denies the averments contained in Paragraph 6 of the Complaint,

except Mr, Rupert admits that pursuant to his written Executive Employment Agreement he was
to receive an annualized base salary of $275,000, payable in accordance with IKON’s regular
payroll practices.

7. Mr. Rupert denies the averments contained in paragraph 7 of the Complaint,
except Mr. Rupert admits that he executed the written Relocation Agreement on January 14,
2004.

8. Mr. Rupert admits the averments contained in paragraph 8 of the Complaint.

9. Mr. Rupert admits the averments contained in paragraph 9 of the Complaint.

10. Mr. Rupert denies the accuracy or completeness of IKON’s characterization in
paragraph 10 of the Complaint of his obligations under the Executive Employment Agreement
and respectfully refers the Court to the full contents of said agreement, which is in writing and
speaks for itself. By way of further answer, Mr. Rupert admits that he received health and dental
insurance and had the right to paid vacation during his employment at IKON.

11. Mr. Rupert denies the averments contained in paragraph 11 of the Complaint,

except Mr. Rupert admits that, pursuant to the terms of the Relocation Agreement, he received a

Ko

Case 2:04-cv-02735-WY Document 2 Filed 07/15/04 Page 3 of 27

lump sum taxable relocation payment in the gross amount of $125,000 in or around January,
2004.

12. Mr. Rupert denies the averments and conclusions of law contained in paragraph
12 of the Complaint. By way of further answer, Mr. Rupert incorporates herein by reference the
averments contained in paragraphs | through 59 of his Counterclaims.

13. Mr. Rupert denies the averments contained in paragraph 13 of the Complaint.

14. Mr. Rupert denies the averments contained in paragraph 14 of the Complaint.

15. Mr. Rupert denies the averments contained in paragraph 15 of the Complaint.

16. Mr. Rupert denies the accuracy or completeness of IKON’s characterization in
paragraph 16 of the Complaint of his obligations under the Executive Employment Agreement
and respectfully refers the Court to the full contents of said agreement, which is in writing and
speaks for itself. By way of further answer, Mr. Rupert denies the implication of paragraph 16 of
the Complaint that he breached his duty of loyalty to ICON and incorporates herein by reference
the averments contained in paragraphs | through 59 of his Counterclaims.

17. Mr. Rupert denies the accuracy or completeness of IKON’s characterization in
paragraph 17 of the Complaint of the rights and obligations imposed on the parties pursuant to
the Executive Employment Agreement and respectfully refers the Court to the full contents of
said agreement, which is in writing and speaks for itself. By way of further answer, Mr. Rupert
denies the implication of paragraph 17 of the Complaint that he breached his duty of loyalty or
engaged in any conduct that would afford IKON the right to terminate his employment “for
cause” as defined in Section 2.1 of the Executive Employment Agreement and incorporates

herein by reference the averments contained in paragraphs | through 59 of his Counterclaims.
Case 2:04-cv-02735-WY Document 2 Filed 07/15/04 Page 4 of 27

18. Mr. Rupert denies the averments contained in paragraph 18 of the Complaint and
further denies the accuracy and completeness of ICON’s characterization in paragraph 18 of the
Executive Employment Agreement and respectfully refers the Court to the full contents of said
agreement, which is in writing and speaks for itself. By way of further answer, Mr. Rupert
incorporates herein by reference the averments contained in paragraphs | through 59 of his
Counterclaims.

19. Mr. Rupert admits the averments contained in paragraph 19 of the Complaint. By
way of further answer, Mr. Rupert respectfully refers the Court to the full contents of the
Executive Employment Agreement, the Relocation Agreement and the applicable IKON health
and benefits plans, which are in writing and speak for themselves.

20. Mr. Rupert denies knowledge or information sufficient to form a belief as to the
truth of the averments contained in paragraph 20 of the Complaint and on that basis denies those
averments.

21. Mr. Rupert denies the averments contained in paragraph 21 of the Complaint,
except Mr. Rupert admits that IKON purported to terminate him “for cause.” By way of further
answer, Mr. Rupert denies that there was “cause” for his termination and that his “for cause”
termination was proper and incorporates herein by reference paragraphs | through 59 of his
Counterclaims.

22. Mr. Rupert denies the averments contained in paragraph 22 of the Complaint. By
way of further answer, Mr. Rupert incorporates herein by reference the averments contained in

paragraphs | through 59 of his Counterclaims.
Case 2:04-cv-02735-WY Document 2 Filed 07/15/04 Page 5 of 27

23. Mr. Rupert denies the averments contained in paragraph 23 of the Complaint. By
way of further answer, Mr. Rupert incorporates herein by reference the averments contained in
paragraphs | through 59 of his Counterclaims.

24. Mr. Rupert denies knowledge or information sufficient to form a belief as to the
truth of the averments contained in paragraph 24 of the Complaint and on that basis denies those
averments.

25, Mr. Rupert denies the averments contained in paragraph 25 of the Complaint.

26. Mr. Rupert denies the accuracy and completeness of IKON’s characterization in
paragraph 26 of the Complaint of the Relocation Agreement and respectfully refers the Court to
the full contents of said agreement, which is in writing and speaks for itself.

27, Mr, Rupert denies the averments contained in paragraph 27 of the Complaint in
part and admits them in part. Mr. Rupert denies the implication of paragraph 27 of the
Complaint that the fact he had not relocated his house to Pennsylvania as of the date of his
purported termination constitutes a breach of the Relocation Agreement. Mr. Rupert admits that
IKON paid him $125,000 and that, as of the date of his purported termination, he had not
relocated his home from Connecticut to Pennsylvania.

28. Mr. Rupert admits the averments contained in paragraph 28 of the Complaint.

29. 9 Mr. Rupert denies the averments contained in paragraph 29 of the Complaint.

30, Mr. Rupert denies the averments contained in paragraph 30 of the Complaint. By
way of further answer, Mr. Rupert avers that he is not required to repay the pro rata portion of
his relocation payment and relocation expense reimbursements and incorporates herein by

reference the averments contained in paragraphs | through 59 of his Counterclaims.
Case 2:04-cv-02735-WY Document 2 Filed 07/15/04 Page 6 of 27

31. Mr. Rupert denies the accuracy and completeness of the averments in paragraph
31 of the Complaint regarding the Executive Employment Agreement and respectfully refers the
Court to the full contents of said agreement, which is in writing and speaks for itself.

32. Mr. Rupert denies the averments contained in paragraph 32 of the Complaint.

33. Mr, Rupert denies the accuracy and completeness of the averments contained in
paragraph 33 of the Complaint regarding the Relocation Agreement and respectfully refers the
Court to the full contents of said agreement, which is in writing and speaks for itself, except Mr.
Rupert admits that he executed the Relocation Agreement over 60 days after the Executive
Employment Agreement.

34. Mr. Rupert denies the accuracy and completeness of the averments in paragraph
34 of the Complaint regarding the Executive Employment Agreement and respectfully refers the
Court to the full contents of said agreement, which is in writing and speaks for itself. By way of
further answer, Mr. Rupert denies the implication of paragraph 34 that he has started up, become
employed by, associated or affiliated with, in an executive or managerial, supervising,
consulting, sales or other related capacity, any entity or business that is similar to or competes
with IKON’s business.

35. Mr. Rupert denies the accuracy and completeness of the averments contained in
paragraph 35 of the Complaint regarding the Executive Employment Agreement and respectfully
refers the Court to the full contents of said agreement, which is in writing and speaks for itself.

36. Mr. Rupert denies the accuracy and completeness of the averments in paragraph
36 of the Complaint regarding the Executive Employment Agreement and respectfully refers the

Court to the full contents of said agreement, which is in writing and speaks for itself.
Case 2:04-cv-02735-WY Document 2 Filed 07/15/04 Page 7 of 27

37. Mr. Rupert denies the averments contained in paragraph 37 of the Complaint in
part and admits them in part. Mr. Rupert denies the implication of paragraph 37 of the
Complaint that he has misappropriated IKON’s confidential and proprietary and trade secret
information or violated any duty of confidentiality imposed under the Executive Employment
Agreement or by law. Mr. Rupert admits that he had access during and in connection with his
employment at IKON to certain information that IKON considers confidential and proprietary.

38. Mr, Rupert denies knowledge or information sufficient to form a belief as to the
truth of the averments of paragraph 38 of the Complaint and on that basis denies those
avermenits.

39, Mr. Rupert denies the averments contained in paragraph 39 of the Complaint.

40. Mr. Rupert denies the averments contained in paragraph 40 of the Complaint,
except Mr. Rupert admits that (1) following his purported termination by IKON he has sought
work as a consultant with Smooth Engine; (2) Smooth Engine is a consulting firm with offices at
230 Park Avenue, New York, New York as well as in New Jersey and Connecticut; and (3) he
had not yet relocated to Pennsylvania from Connecticut at the time of his purported termination
by IKON.

41. Mr, Rupert denies the averments contained in paragraph 41 of the Complaint.

42. Mr. Rupert denies the averments contained in paragraph 42 of the Complaint.

43. Mr, Rupert denies the averments contained in paragraph 43 of the Complaint

44. Mr. Rupert denies the averments contained in paragraph 44 of the Complaint

45. Mr. Rupert denies the averments contained in paragraph 45 of the Complaint.

46. Mr. Rupert denies the averments contained in paragraph 46 of the Complaint in

part and admits them in part. Mr. Rupert denies the implication of paragraph 46 of the
Case 2:04-cv-02735-WY Document 2 Filed 07/15/04 Page 8 of 27

Complaint that by association with Smooth Engine he is assisting HQ Global Workplaces to
compete with IKON. Mr. Rupert admits that the documents appended as Exhibit D to the
Complaint appear to come from Smooth Engine’s website and contain references to HQ Global
Workplaces, which employed Mr. Rupert prior to his employment with IKON from 1999
through January 2002.

47. Mr. Rupert denies the averments contained in paragraph 47 of the Complaint. By
way of further answer, Mr. Rupert incorporates herein by reference the averments contained in
paragraphs | through 59 of his Counterclaims.

48. The averments contained in paragraph 48 of the Complaint constitute improper
and incomplete hypotheticals, which are denied, and as to which no further response is required.
If and to the extent a further response is deemed to be required, Mr. Rupert denies the accuracy
and completeness of IXON’s assertions concerning the Executive Employment Agreement and

respectfully refers the Court to the full contents of said agreement, which is in writing and speaks

for itself.

49, Mr. Rupert denies the averments and conclusions of law contained in paragraph
49 of the Complaint.

50. Mr. Rupert denies the averments and conclusions of law contained in paragraph
50 of the Complaint.

51. Mr. Rupert denies the averments and conclusions of law contained in paragraph

51 of the Complaint.
52. Mr. Rupert denies the averments contained in paragraph 52 of the Complaint.

53. Mr. Rupert denies the averments contained in paragraph 53 of the Complaint.
Case 2:04-cv-02735-WY Document 2 Filed 07/15/04 Page 9 of 27

COUNT I
(Breach of Contract)

54. Mr. Rupert repeats and reavers his responses to paragraphs 1 through 53 of the
Complaint as if fully set forth herein.

55, Mr. Rupert admits the averments contained in paragraph 55 of the Complaint.

56. Mr. Rupert admits the averments contained in paragraph 56 of the Complaint.

57. | Mr. Rupert denies knowledge or information sufficient to form a belief as to the
truth of the averments contained in paragraph 57 of the Complaint and on that basis denies those
averments.

58. Mr. Rupert denies the averments contained in paragraph 58 of the Complaint,
except Mr. Rupert admits that he executed the Executive Employment Agreement, was
employed by IKON, and received a salary and other benefits in excess of $137,500.

59. Mr. Rupert admits the averments contained in paragraph 59 of the Complaint.

60. Mr. Rupert denies the averments contained in paragraph 60 of the Complaint,
except Mr. Rupert admits that JON also provided him with health and dental insurance and the
right to paid vacation.

61. Mr. Rupert denies the averments contained in paragraph 61 of the Complaint.

62. Mr. Rupert denies the averments contained in paragraph 62 of the Complaint.

63. Mr. Rupert denies the averments contained in paragraph 63 of the Complaint.

64. Mr. Rupert denies the averments contained in paragraph 64 of the Complaint. By
way of further answer, Mr. Rupert specifically denies that he is currently working or employed
by Smooth Engine in Competition with IKON and avers in any event that ICON’s prior material
breaches of its obligations under the Executive Employment Agreement and Relocation

Agreement, which are detailed in paragraphs 1 through 59 of Mr. Rupert’s Counterclaims,
Case 2:04-cv-02735-WY Document 2 Filed 07/15/04 Page 10 of 27

relieve Mr. Rupert of the obligation to abide by the non-competition and confidentiality
provisions of the Executive Employment Agreement.

65. Mr. Rupert denies the averments and conclusions of law contained in paragraph
65 of the Complaint.

66. Mr. Rupert denies the averments and conclusions of law contained in paragraph
66 of the Complaint.

67. Mr. Rupert denies the averments contained in paragraph 67 of the Complaint.

68. Mr. Rupert denies the averments and conclusions of law contained in paragraph
68 of the Complaint.

COUNT IL
(Breach of Contract)

69. = Mr. Rupert repeats and reavers his responses to paragraphs | through 68 of the
Complaint as if fully set forth herem.

70. Mr. Rupert admits the averments contained in paragraph 70 of the Complaint.

71. Mr. Rupert admits the averments contained in paragraph 71 of the Complaint.

72. Mr. Rupert denies the averments contained in paragraph 72 of the Complaint.

73. | Mr. Rupert denies the averments contained in paragraph 73 of the Complaint.

74. Mr. Rupert denies the averments and conclusions of law contained in paragraph
74 of the Complaint.

75. Mr. Rupert denies the averments contained in paragraph 75 of the Complaint

COUNT Ii
(Breach of Fiduciary Duty)

76. Mr. Rupert repeats and reavers his responses to paragraphs | through 75 of the

Complaint as if fully set forth herein.

10
Case 2:04-cv-02735-WY Document 2 Filed 07/15/04 Page 11 of 27

77. Mr. Rupert denies knowledge or information sufficient to form a belief as to the
truth of the averments of paragraph 77 of the Complaint and on that basis denies those
averments, except Mr. Rupert avers that he did faithfully and fully perform his employment
duties and fulfill his obligations to IKON.

78. Mr. Rupert denies the averments contained in paragraph 78 of the Complaint in
part and admits them in part. Mr. Rupert denies the implication of paragraph 78 that he breached
his duty of loyalty to IKON. Mr. Rupert admits that the position of Vice President, Management
Services was a “key, executive” position that reported directly to the Chairman, Mr. Espe.

79. Mr. Rupert denies the averments contained in paragraph 79 of the Complaint.

80. Mr. Rupert denies the averments and conclusions of law contained in paragraph
80 of the Complaint.

81. Mr. Rupert denies the averments contained in paragraph 81 of the Complaint.

82. Mr. Rupert denies the averments contained in paragraph 82 of the Complaint.

83. Mr. Rupert denies the averments contained in paragraph 83 of the Complaint.

84. Mr. Rupert denies the averments contained in paragraph 84 of the Complaint.

85. Mr. Rupert denies each and every averment and/or conclusion of law contained in
the Complaint that is not expressly admitted above.

ADDITIONAL DEFENSES

Mr. Rupert reserves the right to assert any and all applicable defenses to IKON’s claims.
Mr. Rupert has not yet obtained adequate discovery from IKON or others in connection with this
action, and Mr. Rupert therefore reserves the right to amend or otherwise supplement this
pleading. Without limiting the generality of the foregoing and without regard to whether

defenses set forth below are affirmative defenses within the meaning of Federal Rule of Civil

ll
Case 2:04-cv-02735-WY Document 2 Filed 07/15/04 Page 12 of 27

Procedure 8(c), and without conceding that any such defenses must be set forth in his answer or
assuming any burden of proof that he would not otherwise bear, Mr. Rupert states as follows:

FIRST ADDITIONAL DEFENSE

IK.ON’s claims are barred, in whole or in part, because Mr. Rupert has fulfilled all of his
contractual obligations to IKON.

SECOND ADDITIONAL DEFENSE

IKON’s claims are barred, in whole or in part, because IKON’s material breach of the
parties’ Executive Employment Agreement and Relocation Agreement, as averred in paragraphs
1 through 59 and 64 through 68 of his Counterclaims, excused Mr. Rupert’s performance
obligations under such agreements.

THIRD ADDITIONAL DEFENSE

IKON’s claims are barred because to permit IKON to prevail on such claims would

unjustly enrich IKON.

FOURTH ADDITIONAL DEFENSE

IKON’s claims, including IKON’s claims for equitable relief, are barred, in whole or in
part, by the doctrines of in pari delicto, unclean hands, and/or similar doctrines barring claims by
persons with equal or greater participation in, or fault regarding, the underlying alleged
misconduct.

FIFTH ADDITIONAL DEFENSE

IKON’s claims are barred, in whole or in part, because Mr. Rupert’s actions have not

caused ICON, whether proximately or otherwise, any damages or losses.

12
Case 2:04-cv-02735-WY Document 2 Filed 07/15/04 Page 13 of 27

SIXTH ADDITIONAL DEFENSE

TKON’s claims are barred, in whole or in part, for the reasons and by virtue of the claims
averred in Mr. Rupert’s Counterclaims.

SEVENTH ADDITIONAL DEFENSE

TKON’s Complaint fails to state a claim against Mr. Rupert upon which relief can be
granted.

EIGHTH ADDITIONAL DEFENSE

IKON’s claim against Mr. Rupert for punitive damages is baseless and should be
stricken.

COUNTERCLAIMS
(Description of Dispute)

Defendant and counterclaim plaintiff David Rupert (“Mr. Rupert”) sets forth the
following averments in support of his Counterclaims against plaintiff and counterclaim
defendant IKON Office Solutions, Inc. (“IKON”) and counterclaim defendants Matthew J. Espe
and Beth Sexton (collectively “Counterclaim Defendants”).

1. This case arises from the Counterclaim Defendants’ willful, malicious and bad
faith attempt to avoid paying wages and benefits contractually due to Mr. Rupert and their
subsequent willingness to smear the reputation of Mr. Rupert to avoid these contractual
obligations.

2. From Monday, November 3, 2003 through Friday, April 30, 2004, Mr. Rupert
served as Vice President, Management Services for counterclaim defendant IKON.

3. During the full six months of his employment, Mr. Rupert received no negative
feedback about his performance with IKON. During that time, he had never been criticized for

his performance or for his personal behavior.

13
Case 2:04-cv-02735-WY Document 2 Filed 07/15/04 Page 14 of 27

4, With one-day’s notice, Mr. Rupert was unexpectedly and unceremoniously
terminated from his position with IKON following a corporate reorganization that was
implemented by IKON’s Chairman and CEO, Matthew Espe, in late April 2004.

5. As explained in greater detail below, Mr. Rupert’s employment agreement and
other written agreements between Mr. Rupert and IKON provided that in the event of
termination resulting from a corporate reorganization, Mr. Rupert would receive certain benefits,
consisting of (1) severance payments of one year’s base salary totaling $275,000; (2) health
benefits, in the form of COBRA payments that would be made by IKON on his behalf for one
year following termination; (3) a pro-rated annual incentive bonus, worth up to 50% of his base
salary; and (4) the retention of the full amount of a $125,000 relocation payment made to Mr.
Rupert.

6. Rather than honoring all of its contractual commitments, IKON falsely claimed
that Mr. Rupert had been terminated for poor performance and disclaimed its obligation to pay
Mr. Rupert his incentive bonus and improperly demanded that Mr. Rupert repay $95,000 of the
relocation payment in violation of the parties’ prior contractual agreement.

7. After Mr, Rupert insisted that IKON fully honor its prior agreements regarding
the incentive bonus and relocation payments, ION retaliated by refusing to make the agreed-
upon severance payments to Mr. Rupert and the agreed-upon COBRA payments on his behalf.

8. IKON has further retaliated by filing a meritless lawsuit, which smears Mr.
Rupert’s reputation by alleging, without any factual basis, that Mr. Rupert had breached his
employment agreement by failing to carry out his duties and had engaged in acts of dishonesty,

moral turpitude and breaches of his duties of loyalty to IKON.

14
Case 2:04-cv-02735-WY Document 2 Filed 07/15/04 Page 15 of 27

PARTIES

9. Defendant and counterclaim plaintiff, David Rupert, is an adult individual and is a
citizen of the State of Connecticut, residing at 2 Rustic Lane, Westport, Connecticut.

10. Plaintiff and counterclaim defendant IKON Office Solution, Inc., (“TKON”) is an
Ohio corporation with its principal place of business at 70 Valley Stream Parkway, Malvern,
Pennsylvania, 13555.

11. Counterclaim defendant Matthew J. Espe is an adult individual and is a citizen of
the Commonwealth of Pennsylvania. Mr. Espe is, and was at all times relevant to this dispute,
the Chairman and Chief Executive Officer of IKON.

12. Counterclaim defendant Beth Sexton is an adult individual and is a citizen of the
Commonwealth of Pennsylvania. Ms. Sexton is, and was at all times relevant to this dispute,
Senior Vice President, Human Resources for IRON.

JURISDICTION AND VENUE

13. Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332 as the parties are
citizens of different states and the amount in controversy exceeds $75,000, exclusive of interest
and costs. Jurisdiction over these counterclaims is also proper under 28 U.S.C. § 1367.

14. Venue is proper in the United States District Court for the Eastern District of
Pennsylvania pursuant to 28 U.S.C. § 1391(a) as all counterclaim defendants are subject to
personal jurisdiction in this judicial district.

FACTS COMMON TO ALL CAUSES OF ACTION

15. On October 27, 2003, IRON named Mr. Rupert as Vice President of Management

Services, reporting directly to Mr. Espe.

15
Case 2:04-cv-02735-WY Document 2 Filed 07/15/04 Page 16 of 27

16. The role that Mr. Rupert was to fill at IKON was a new one. Mr. Rupert was told
that ICON was attempting to focus its business more on the services business as IKON’s primary
equipment business was beginning to decline.

17. | While interviewing Mr. Rupert for the position, Mr. Espe stated that he wanted an
experienced, senior executive to fill this position rather than an internal candidate or someone
with limited experience. .

18. Prior to accepting this position with ICON, Mr. Rupert had been Chief
Development Officer of Uniscribe Professional Services. Prior to that, Mr. Rupert had been
President and Chief Operating Officer and then CEO of HQ Global Workplaces, the world’s
largest provider of fully serviced office space. Before that, he had been President of Pitney
Bowes Business Services, a division of Pitney Bowes that provides a range of business services
including mail, document and record management.

19. Mr. Rupert is a graduate of Georgetown University and has a Masters of
Management from the Yale School of Management.

20. At the time he accepted the position with IKON, Mr. Rupert resided in
Connecticut, and while he was interviewing with Mr. Espe, they discussed Mr. Rupert’s
willingness to relocate his residence to Malvern, Pennsylvania.

21. Mr. Espe verbally offered Mr. Rupert the position in early-October 2003, and Mr.
Rupert verbally accepted the offer at that time.

22. IKON issued a press release on October 27, 2003, naming Mr. Rupert as Vice
President of Management Services as of that date. Mr. Rupert’s first day in the office was

Monday, November 3, 2003, the first working day in November.

16
Case 2:04-cv-02735-WY Document 2 Filed 07/15/04 Page 17 of 27

23. Onor about that time, Mr. Rupert executed an “Executive Empicyment
Agreement” (“Employment Agreement”) in connection with his position with IKON.
Counterclaim defendant Beth Sexton, the Senior Vice President, Human Resources, executed the
Employment Agreement on behalf of ICON. A true and correct copy of the Employment
Agreement is attached hereto as Exhibit “A.”

24. The Employment Agreement was to run for an initial term of two years, effective
November 3, 2003. The agreement entitled Mr. Rupert to an initial annualized base salary of
$275,000 and made Mr. Rupert eligible for an annual incentive bonus equal to 50% of his base
salary, based upon his performance and the company’s performance. See Exhibit “A” at § 1.3.

25, The Employment Agreement provided that IKON could terminate Mr. Rupert’s
employment for cause upon 60 days’ written notice and an opportunity to cure if Mr. Rupert
(1) failed to comply with any company policy, (2) repeatedly failed or refused to carry out his
assigned duties and responsibilities, or (3) breached his obligations under the terms of the
Employment Agreement, See Exhibit “A” at § 2.1.

26. The Employment Agreement further provided that IKON could terminate Mr.
Rupert for cause without prior notice if Mr. Rupert were to commit an act of dishonesty, moral
turpitude or theft or in breach of his duties of loyalty to IKON. See Exhibit “A” at § 2.1.

27. The Employment Agreement further provided that IKON could terminate Mr.
Rupert not for cause, at any time with or without prior notice, for reasons other than those set
forth in paragraphs 25 and 26 above. However, if Mr. Rupert’s termination was not for cause,
the Employment Agreement guaranteed that he would receive (1) a pro-rated bonus payment,
provided that he had served in his position for six months in the fiscal year in which the

termination occurred; and severance benefits in the form of (2) continued base salary for a

17
Case 2:04-cv-02735-WY Document 2 Filed 07/15/04 Page 18 of 27

minimum of one year; and (3) COBRA payments for a period of one year to cover the cost of
continued group health insurance coverage. See Exhibit “A” at §§ 2.2, 2.4,

28. In January 2004, Mr. Rupert and HCON also entered into a “Relocation Payment
and Expense Reimbursement Agreement” (“Relocation Agreement”). A true and correct copy of
the Relocation Agreement is attached hereto as Exhibit “B.”

29. In the Relocation Agreement, IKON agreed to pay Mr. Rupert a lump-sum
relocation payment in the amount of $125,000. The Relocation Agreement further provided that
Mr. Rupert was entitled to retain the full amount of the relocation payment if his employment
was terminated due to the elimination or substantial redefinition of his position:

IKON agrees to pay you a lump sum relocation payment in the
gross amount of $125.000 (“Relocation Payment’), which will be
taxable income to you upon receipt and in or around January,
2004. In the event of termination of your employment for any
reason (other than a termination by IKON due to the
elimination or substantial redefinition of your position), within
a twenty-four (24) month period following the date of the
relocation bonus payment, January 9, 2004, you agree to repay
IKON, prior to your last day with ICON, a prorated portion of the
full gross amount of your Relocation Payment.

See Exhibit “B” (bold emphasis supplied).

30. Inthe Relocation Agreement, IKON also agreed to reimburse Mr. Rupert for six
months of temporary living for relocation. Mr. Rupert was entitled to retain this full benefit if
his employment was terminated due to the elimination or substantial redefinition of his position.
See Exhibit “B.”

31. ‘In the six months that Mr. Rupert served as Vice President for Management
Services, he fulfilled all of his duties and obligations under the Employment Agreement and met

or exceeded all of the performance goals that had been set for him. He received uniformly

18
Case 2:04-cv-02735-WY Document 2 Filed 07/15/04 Page 19 of 27

positive comments on his work, and had never received any negative comments from anyone at
IKON about his performance or his behavior at or outside of the office.

32. On Thursday, March 18, 2004, following a presentation to IKON’s Board of
Directors regarding the company’s strategic plans, Mr. Espe informed Mr. Rupert and others
who presented to the Board that they had done a terrific job.

33. | Unbeknownst to Mr. Rupert, only one month after that presentation, Mr. Espe was
planning a reorganization of IKON’s operations that would eliminate Mr. Rupert’s position.
Without informing Mr. Rupert, on April 23, 2004, Mr. Espe discussed with Michael Kohlsdorf,
Vice President, Professional Services for ICON, Mr. Espe’s plan to consolidate functions
overseen by Mr. Rupert with Mr. Kohisdorf. In essence, Mr. Espe explained that as a result of
this reorganization Mr. Rupert's position would be eliminated.

34. At the beginning of the week of April 26, 2004, Mr. Espe informed Mr. Kohlsdorf
that he had made the final decision to effect the consolidation.

35. On Wednesday, April 28, 2004, still unaware of Mr. Espe’s plans, Mr. Rupert was
asked to schedule a meeting with Mr. Espe for late in the day on April 29. That meeting began
after 5:00 p.m., and Mr. Espe stated to Mr. Rupert that the role Mr. Rupert had filled was not
working out, that he was being terminated and that the next day, Friday April 30, 2004, would be
his last day.

36. On the following day, April 30, 2004, Mr. Rupert met with Ms. Sexton to discuss
the terms of his separation from IKON.

37. Ms. Sexton presented Mr. Rupert with a draft separation agreement. A true and
correct copy of this document is attached hereto as Exhibit “C.” The draft separation agreement

did not provide a reason for Mr. Rupert's termination, it merely stated that his employment with

19
Case 2:04-cv-02735-WY Document 2 Filed 07/15/04 Page 20 of 27

IKON would end on Friday, April 30, 2004, which was the last working day in April 2004.
Although the draft agreement provided for bi-weekly severance payments of his base salary for
one year and COBRA payments for the same period, it made no mention of Mr. Rupert’s
contractual right to a pro-rated incentive bonus, which would have been worth up to $68,750,
and in violation of his rights under the Relocation Agreement, the draft separation agreement
purported to require Mr. Rupert to pay ION $95,500, representing a pro-rated repayment of the
Relocation Payment. See Exhibit “C.”

38. When Mr. Rupert questioned Ms. Sexton about his incentive bonus and the
repayment of the Relocation Payment, Ms. Sexton suggested that Mr. Rupert’s termination may
have been “for cause.” Mr. Rupert responded that Ms. Sexton’s statement was the first time any
one at IKON had ever suggested that there were any performance issues with his work. In
contradiction of her statement that Mr. Rupert’s termination had been for cause, Ms. Sexton then
hastily responded that “Matt [Espe] has too many direct reports,” which confirmed that Mr.
Rupert had been terminated not for cause, but rather as a result of the reorganization.

39. Moreover, under the terms of the Employment Agreement, IKON had to provide
Mr. Rupert with 60 days notice and an opportunity to cure before it could terminate him for
cause related to his performance of his duties under that agreement.

40. Ms. Sexton told Mr. Rupert that she would discuss his concerns about the bonus
payment and repayment of the Relocation Payment with Mr. Espe and would get back to him.

41. On May 5, 2004, IKON publicly announced the reorganization that Mr. Espe had
previously discussed with Mr. Kohlsdorf.. A true and correct copy of the press release is attached
hereto as Exhibit “D.” Mr. Kohlsdorf was given a new title, Senior Vice President of IKON

Enterprise Services, and five ICON teams, including management services, were to report to Mr.

20
Case 2:04-cv-02735-WY Document 2 Filed 07/15/04 Page 21 of 27

Kohlsdorf. The position held by Mr. Rupert, Vice President, Management Services reporting
directly to Mr. Espe, was either eliminated or substantially redefined.

42. On or about May 6, 2004, Mr. Rupert received a revised draft separation
agreement from Ms. Sexton. A true and correct copy of this document is attached hereto as
Exhibit “E.” Despite the fact that Mr. Rupert had been terminated as a result of the
reorganization, and in contrast to the first draft, the revised separation agreement purported to
require Mr. Rupert to “agree[] and acknowledge that your employment with IKON was
terminated for performance reasons.” See Exhibit “E.”

43, The revised separation agreement provided that Mr. Rupert would receive a full
year’s salary as severance and would also receive a year’s worth of COBRA benefits.

44, Although the revised agreement stated that he would be eligible for a prorated
portion of his annual incentive bonus, the revised agreement falsely stated that Mr. Rupert’s
employment was for a period of less than six months when it is undisputed that Mr. Rupert held
his position for every working day in November and December 2003, and January, February,
March and April 2004 ~ in other words, for six months. See Exhibit “E.”

45. Moreover, the bonus payment was to be based on Mr. Rupert’s performance
during his employment, and IKON was simultaneously, and for the first time, claiming that Mr.
Rupert’s termination was for performance reasons, providing IKON with an easy means to avoid
paying the bonus that was contractually due to Mr. Rupert. See Exhibit “E.”

46. Finally, the revised draft separation agreement still purported to require Mr.
Rupert, in violation of his rights under the Relocation Agreement, to pay IKON $95,500 as a

prorated portion of the Relocation Payment. See Exhibit “E.”

21
Case 2:04-cv-02735-WY Document 2 Filed 07/15/04 Page 22 of 27

47, Mr. Rupert continued to object to the terms of IRON’s proposed separation
agreement as violative of his rights under the Employment Agreement, the Relocation
Agreement and Pennsylvania’s Wage Payment and Collection Law.

48. After it terminated Mr. Rupert, IKON paid him one week’s severance pay, rather
than the full year’s severance he is entitled to. IKON has also failed to make COBRA payments
on his behalf or to reimburse Mr. Rupert for COBRA payments he has made.

49. On June 21, 2004, IKON filed suit against Mr. Rupert, claiming (falsely and for
the first time) that he had been terminated for unidentified violations of company policies, failure
to carry out his duties, undisclosed breaches of his Employment Agreement, and, incredibly, for
unidentified acts of dishonesty, moral turpitude and embarrassing behavior.

50. The conclusory allegations in IKON’s complaint are complete Hes. During the
entire term of his employment, no one at IKON had ever made such accusations, or even made
any comment that could remotely be construed as suggesting that Mr. Rupert had failed to fulfill
his duties or had behaved in any way improperly.

51. | TRON has also falsely alleged that Mr. Rupert violated a restrictive covenant set
forth in his Employment Agreement.

52, IKON’s action in filing suit against Mr. Rupert are part and parcel of its bad faith
and malicious attempt to avoid fulfilling its clear contractual obligations to Mr. Rupert, its
retaliation against him for trying to protect his contractual and statutory rights, and was taken in

violation of Pennsylvania’s Wage Payment and Collection law.

COUNT i- BREACH OF CONTRACT
(Against LKON Office Solutions, Inc.)

53. Defendant and counterclaim plaintiff repeats and reavers paragraphs 1 through 52

above as if fully set forth herein.
Case 2:04-cv-02735-WY Document 2 Filed 07/15/04 Page 23 of 27

54. Mr. Rupert has fully performed all of his obligations under the Employment

Agreement and the Relocation Agreement.

55. Under the terms of the Employment Agreement, IKON is obligated to pay Mr.
Rupert a full-year’s severance of $275,000, in bi-weekly installments, through the end of April
2005. IKON has failed to make any severance payments to Mr. Rupert for any time after May 9,
2004, in breach of that agreement.

56. Under the terms of the Employment Agreement, IKON is obligated to make
COBRA payments on behalf of Mr. Rupert or to compensate Mr. Rupert for COBRA payments
he has made to continue his health insurance coverage during his severance period. [KON has
failed to make these payments in breach of that agreement.

57. | Under the terms of the Employment Agreement, Mr. Rupert is entitled to a bonus
payment of up to $68,750 for his service for the months of November 2003 through April 2004
in the fiscal year ending September 30, 2004. In violation of that Agreement, ICON in bad faith
(1) terminated Mr. Rupert without any prior notice in a (misguided) attempt to cut off Mr.
Rupert’s contractual right to receive a bonus; (2) has refused to acknowledge its obligation to
pay Mr. Rupert the bonus when it comes due, and (3) has falsely claimed that Mr. Rupert was
terminated for performance reasons, without providing him 60 days notice and an opportunity to
cure any problems with his performance, thereby putting his ability to obtain that bonus in
jeopardy.

58. | Under the terms of the Relocation Agreement, Mr. Rupert was entitled to retain
the full amount of the Relocation Payment because he was terminated due to the elimination or
substantial redefinition of his position. In bad faith and in violation of that agreement, IRON has

falsely claimed that Mr. Rupert was terminated for performance reasons and has improperly
Case 2:04-cv-02735-WY Document 2 Filed 07/15/04 Page 24 of 27

demanded that Mr. Rupert pay IKON $95,500 in relocation expenses as a condition of his
separation agreement.
59.  Asaresult of IKON’s actions, Mr. Rupert has suffered and will continue to suffer
substantial damages.
COUNT I
VIOLATIONS OF PENNSYLVANIA’S WAGE PAYMENT AND COLLECTION LAW,

43 P.S. §260.1, ef seq
(Against all Counterclaim Defendants)

60. Defendant and counterclaim plaintiff repeats and reavers paragraphs 1 through 59
above as if fully set forth herein.

él. The severance salary payments, COBRA payments, and incentive bonus that Mr.
Rupert is contractually entitled to constitute “wages” under Pennsylvania’s Wage Payment and
Collection Law. See 43 P.S. § 260.2a.

62. Counterclaim defendants IKON, Mr. Espe and Ms. Sexton are all “Employers”
under the Wage Payment and Collection Law and are all! liable under the law for the wages due
to Mr. Rupert.

63. In violation of the Wage Payment and Collection Law, the Counterclaim
Defendants have, unreasonably and without a good faith justification, failed to pay to Mr. Rupert
his severance salary and COBRA payments as those amounts have come due following Mr.
Rupert’s termination.

COUNT HE
DECLARATION THAT RESTRICTIVE COVENANT AND RESTRICTION ON THE

USE OF CONFIDENTIAL INFORMATION ARE UNENFORCEABLE
(Against IKON Office Solutions, Inc.)

64. Defendant and counterclaim plaintiff repeats and reavers paragraphs 1 through 63

above as if fully set forth herein,

24
Case 2:04-cv-02735-WY Document 2 Filed 07/15/04 Page 25 of 27

65. This Court has the authority to grant declaratory relief declaring the parties’ rights
under the contracts at issue pursuant to 28 U.S.C. § 2201 and Fed. R. Civ. P. 57.

66. Asset forth above, IKON has materially breached the terms of the Employment
Agreement and the Relocation Agreement with Mr. Rupert.

67. Despite its own material breaches of those agreements, IKON has brought suit
falsely alleging that after his termination Mr. Rupert has violated a provision in the Employment
Agreement restricting Mr. Rupert from using INON’s confidential information and a restriction
on Mr. Rupert’s post-termination employment in the Employment Agreement.

68. By reason of IRON’s own material breaches, the restriction on Mr. Rupert’s post-
termination employment and the restriction on the use of confidential information in the
Executive Employment Agreement should be declared to be unenforceable against Mr. Rupert.

WHEREFORE, defendant and counterclaim plaintiff David Rupert respectfully requests
judgment against plaintiff IKON Office Solutions, Inc. and Counterclaim Defendants IKON
Office Solutions, Inc., Matthew J. Espe, and Beth Sexton, as follows:

(1) in favor of Mr. Rupert and against IKON as to all claims and counts set forth in
IK.ON’s Complaint;

(2) for compensatory damages in an amount to be proven at trial, as well as his
reasonable attorneys’ fees and costs incurred;

(3) liquidated damages as provided in 43 P.S. §260.10;

(4) a declaration, pursuant to 28 U.S.C. §2201 and Fed. R. Civ. P. 57, that the
restriction on the use of confidential information in the Executive Employment Agreement is

unenforceable owing to IKON’s prior material breach of that agreement;
Case 2:04-cv-02735-WY Document 2 Filed 07/15/04 Page 26 of 27

(5) a declaration, pursuant to 28 U.S.C. §2201 and Fed. R. Civ. P. 57, that the
restriction on Mr. Rupert’s post-termination employment in the Executive Employment

Agreement is unenforceable; and

(6) such other and further relief as the Court deems just, equitable and proper under

the circumstances.

Dated: July 15, 2004 Respectfully submitted,

BUCH. PC

By: ds (Ae,

Sidverl E. Bizar
Thomas P. cat

1835 Market Street, 14th Floor
Philadelphia, PA 19103

(215) 665-8700 (tel)
(215) 665-8760 (fax)

Attorneys for Defendant and Counterclaim
Plaintiff David Rupert

26
Case 2:04-cv-02735-WY Document 2 Filed 07/15/04 Page 27 of 27

CERTIFICATE OF SERVICE

I, Steven E. Bizar, hereby certify that, on this 15th day of July, 2004, I caused a true and
correct copy of the foregoing document to be served upon the following counsel of record for
Plaintiff and Counterclaim Defendant, IKON Office Solutions, Inc. at the following address by

first-class U.S. mail, postage pre-paid:

John M. Elliott, Esquire
Timothy T. Myers, Esquire
Elliott Reihner & Siedzikowski, P.C.
Union Meeting Corporate Center V
925 Harvest Drive
Blue Bell, PA 19422

Cle Gre

Steven E. Bizar

